      Case 5:13-cv-00112-DCB-JCG Document 253 Filed 05/11/15 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI
                                    WESTERN DIVISION

JUMEL H. SHAIDNAGLE, INDIVIDUALLY, AND                                                    PLAINTIFFS
ON BEHALF OF THE WRONGFUL DEATH BENEFICIARIES
OF NICHOLAS L. PASTOR, DECEASED AND THE ESTATE
OF NICHOLAS L. PASTOR, DECEASED

vs.                                                                 Cause No. 5:13cv112‐DCB‐JCG

ADAMS COUNTY, MISSISSIPPI et al                                                         DEFENDANTS
_________________________________________________________________________________________________________

                                          FINAL JUDGMENT
_________________________________________________________________________________________________________

        For the reasons set forth in this Court’s [251] Order Granting Motions for Summary

Judgment and Granting In Part and Deferring Judgment on Motion, entered on January 27,

2015, and pursuant to the agreement of the counsel hereto;

        IT IS, HEREBY, ORDERED AND ADJUDGED that the Complaint filed by Plaintiffs,

Jumel H. Shaidnagle, Individually, on Behalf of the Wrongful Death Beneficiaries of Nicholas

Pastor, Deceased, and on behalf of the Estate of Nicholas L. Pastor, Deceased, including any

and all claims which were or could have been contained therein against all Defendants, is

dismissed with prejudice, with all parties to bear their respective attorneys’ fees, costs and

expenses.

        SO ORDERED AND ADJUDGED, this the 11th day of May                   , 2015.



                                                s/David Bramlette
                                                UNITED STATES DISTRICT JUDGE
     Case 5:13-cv-00112-DCB-JCG Document 253 Filed 05/11/15 Page 2 of 2




AGREED AS TO FORM:


 /s/ Michael T. Jaques
MICHAEL T. JAQUES, ESQ.
SESSUMS, DALLAS & MORRISON, PLLC
Attorney for Plaintiffs


 /s/ Jason E. Dare
JASON E. DARE, ESQ.
WYATT, TARRANT & COMBS, LLP
Attorney for Defendant Smith




                                     2
